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9                             IN THE UNITED STATES DISTRICT COURT

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,

12                  Respondent,                            No. 2:03-cr-0042 MCE JFM P

13          vs.

14   JASON KEITH WALKER,

15                  Movant.                                ORDER

16                                                /

17                  Movant is a federal prisoner proceeding pro se with a motion to vacate, set aside,

18   or correct his sentence pursuant to 28 U.S.C. § 2255. By order filed August 9, 2012, the court

19   granted movant leave to file a supplemental motion and granted respondent a period of thirty

20   days in which to either file a motion to dismiss any and all claims in both the original and, if

21   appropriate, the supplemental § 2255 motion as time-barred or a statement waiving the statute of

22   limitations defense. The order further provided in relevant part that the court would set a further

23   briefing schedule if respondent filed a statement waiving the statute of limitations defense.

24   Respondent has now filed a statement disavowing an intention to rely on the statute of limitations

25   defense and requesting a period of ninety days to answer the claims raised in the original and

26   supplemental motions. That will be the order of the court.

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1                   In accordance with the above, IT IS HEREBY ORDERED that:

2                   1. Respondent shall file an answer to the original and supplemental motions

3    within ninety days of the effective date of this order. See Rule 4, Rules Governing Section 2255

4    Proceedings. Respondent shall include with the answer any and all transcripts or other

5    documents relevant to the determination of the issues presented in the motion. Rule 5, Rules

6    Governing Section 2255 Proceedings.

7                   2. Movant’s traverse, if any, shall be due on or before thirty days from the date

8    respondent’s answer is filed.

9    DATED: August 20, 2012.

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